                        IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                           Civil Action No. 3:21-cv-00263-FDW-DSC


JASMINE GREENE


     Plaintiff,

v.                                                         MOTION FOR ENTRY OF
                                                           CONSENT PROTECTIVE
CHARLOTTE-MECKLENBURG                                            ORDER
BOARD OF EDUCATION



     Defendant.

        Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, N.C. Gen. Stat. §§115C-319 and

     115C-321, and 20 U.S.C. § 1232g and 34 CFR § 99.31, the parties move jointly for the Court to enter

     the attached proposed Stipulated Protective Order to govern discovery in this matter.



        Respectfully submitted this 15th day of October 2021.

/s/Kirk Angel Esq.                                  /s/ Mindy Sanchez, Esq.
Kirk Angel                                          Mindy Sanchez, Esq. (N.C. Bar No. 43444)
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                                                    Board of Education




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